Case 2:22-cv-03436-MWF-JEM Document 30 Filed 10/11/22 Page 1 of 1 Page ID #:210
                                                United States District Court
                                                     Central District of California              Cristina M. Squieri Bullock
                                                       Office of the Clerk                       Chief Deputy of Administration
                                                                                                 350 West 1st Street, Suite 4311
                                                                                                     Los Angeles, CA 90012

              Kiry K. Gray                                                                             Sara Tse Soo Hoo
 District Court Executive / Clerk of Court                                                         Chief Deputy of Operations
      350 West 1st Street, Suite 4311                                                          255 East Temple Street, Suite TS-134
          Los Angeles, CA 90012                                                                      Los Angeles, CA 90012


                                                          October 11, 2022
Stephen Yagman
Yagman and Reichmann LLP
333 Washington Boulevard
Venice Beach, CA 90292-5152




Re: Case Number:                     2:22-cv-03436-MWF-JEM
       Case Title:           Mark Munoz et al. v. Superior Court of Los Angeles County et al
Dear                                                       :

The Court is in receipt of the Notice of Appeal you filed in the matter indicated above. Please be
advised that, pursuant to Rule 3(e) of the Federal Rules of Appellate Procedure, 28 U.S.C. § 1917, and
the Court of Appeals Miscellaneous Fee Schedule issued in accordance with 28 U.S.C. § 1913, a $5.00
filing fee and a $500.00 docketing fee are due upon the filing of a Notice of Appeal.

Please immediately remit a cashier's check, certified bank check, business or corporate check, or money
order drawn on a major American bank or on the United States Postal Service, payable to Clerk, U.S.
District Court, in the amount of $505.00. The Clerk's Office will also accept credit cards (Mastercard/
Visa, Discover, American Express) for filing fees and miscellaneous fees. Credit card payments may be
made at all payment windows where receipts are issued.

If you are attempting to proceed in forma pauperis, you should complete Form A-18 (Motion and
Affidavit for Leave to Appeal in Forma Pauperis) and file it with this Court under the case number
given above. Court forms are available on the court's website at www.cacd.uscourts.gov.


                                                                  Sincerely,

                                                                  Clerk, U.S. District Court

                                                                  By Martha Torres 213 894 3570
                                                                      Deputy Clerk




A-15CV (08/18)                               FILING FEE LETTER RE: NOTICE OF APPEAL (CIVIL)
